Case 5:10-cr-50060-TLB Document 37   Filed 01/19/11 Page 1 of 2 PageID #: 118



                IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF ARKANSAS
                        FAYETTEVILLE DIVISION



CRIMINAL NO. 10-50060-001               USA V. RIGOBERTO CHAVEZ-CUEVAS

COURT PERSONNEL:                        APPEARANCES:

Judge: JIMM LARRY HENDREN               Govt. CLAY FOWLKES

Clerk: GAIL GARNER                      Deft. JANET SPENCER

Reporter: THERESA SAWYER                Int: MARIA ABDIN, STANDBY


                      SENTENCING MINUTE SHEET

     On this date the above-named defendant appeared in person and
with counsel for sentencing and is sworn.

     (X)   Inquiry made that defendant is not under influence of
           alcohol or drugs and is able to comprehend proceedings.
     (X)    Inquiry made whether defendant is under the care of a
           physician or taking any medication and is able to
           comprehend proceedings.
     (X)   Inquiry made that defendant is satisfied with counsel.
     (X)   Court determined that defendant and counsel have had
           opportunity to read and discuss presentence investigation
           report.
     (X)   Counsel for defendant withdraws objections to PSR in
           open court.
     (X)   Presentence investigation report reviewed in open court.
     (X)   Government moves for downward departure pursuant to
           5K1.1 - granted by court and 2 level reduction awarded.
     (X)   Court expresses final approval of plea agreement.
     (X)   Attorney for government afforded opportunity to make
           statement to court.
     (X)   Counsel for defendant afforded opportunity to speak on
           behalf of defendant.
     (X)   Defendant afforded opportunity to make statement and
           present information in mitigation of sentence.
     (X)   Court proceeded to impose sentence as follows:

           192 months imprisonment; 5 years supervised
           release; $40,000.00 fine - interest waived.
Case 5:10-cr-50060-TLB Document 37   Filed 01/19/11 Page 2 of 2 PageID #: 119



Criminal No. 10-50060-001


     (X)   Defendant ordered to comply with standard conditions
           of supervised release.
     (X)   Defendant ordered to pay total special assessment of
           $100.00, for Ct. 1, which shall be due immediately.
     (X)   Count 9 and forfeiture allegation dismissed on motion
           by the government.
     (X)   Defendant advised of right to appeal sentence imposed.
     (X)   Defendant advised of right to apply for leave to appeal
           in forma pauperis.
     (X)   Appeal packet provided.
     (X)   Defendant remanded to the custody of the USMS.




DATE: JANUARY 19, 2011                  Proceeding began: 4:31 pm

                                                      ended: 5:20 pm
